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EXHIBIT A

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I'NITED STATES DISTRICT COURT
V\ ESTERN DISTRICT OF TENNESSEE

LEILANI BRADSHAW, )
)
Plaintift`, )
)
V. ) No.
)
CIGNA HEALTH & Ll'FE iT“/»€SURANCE, )
)
Defendan;. )

 

;KFFIDAVIT OF LISA MEKKELSEN

 

 

STATE OF MINNESOTA )

COUNTY OF CARVER )

I, Lisa Mekkelsen, first being duly sworn, depose as follows:

l. lam more thai twenty-one (Zl) years of age.

2. I am currently a Senior Operations Representative for Life Insurance Cornpany of
North America (“LINA”). l have personal knowledge of the matters stated herein, which are
based on my knowledge of thcry business records and practices of LINA.

3. LINA issued group long term disability policy LK-980076 (“LTD Policy”) to
SUPERVALU Inc. to fund L'l D Plan benefits for its employees

4. LINA is the claims administrator for the LTD Plan.

5. Ms. Bradshaw ~vas a participant in LTD Plan.

6. The LTD Poli:y and LTD Plan are governed by the Ernployee Retirement

Seeurity Act of 1974 (“ERISA ”).

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7. The LTD pol:»:y at issue in the above captioned matter is not an individual policy.

FURTHER, the Affizint sayeth not.

Execuzed this jj da » er october, 2015.

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